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                       Exhibit C
         Case 2:16-cv-02105-JAR Document 584-3 Filed 02/12/21 Page 2 of 5



From:                  Parker, Stanley
To:                    "Johnson, Mark P."
Cc:                    Depew, Dennis; Willoughby, M J.; Deckard, Connie; Dale Ho; Steiner, Neil; Steel, Simon A.; Woods, Curtis E.;
                       Sharon Brett; Sophia Lakin; Mark Emert
Subject:               RE: Fish v. Schwab; Bednasek v. Schwab
Date:                  Thursday, January 21, 2021 12:41:07 PM
Attachments:           image001.png
                       image002.png
                       image003.png


Mark,

Please add Dennis Depew (Dennis.Depew@ag.ks.gov). There will probably be others; I’ll let you
know.

Thanks,
Stan

Stanley R. Parker
Assistant Attorney General/Trial Counsel
Civil Litigation Division
Complex Tort Defense Unit
Office of Kansas Attorney General Derek Schmidt
120 SW 10th Avenue, 2nd Floor
Topeka, KS 66612-1597
Phone: 785-296-2215
Direct: 785-368-8423
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www.ag.ks.gov

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From: Johnson, Mark P. <mark.johnson@dentons.com>
Sent: Wednesday, January 20, 2021 4:23 PM
To: Parker, Stanley <Stanley.Parker@ag.ks.gov>
Cc: Depew, Dennis <Dennis.Depew@ag.ks.gov>; Willoughby, M J. <MJ.Willoughby@ag.ks.gov>;
Deckard, Connie <Connie.Deckard@ag.ks.gov>; Dale Ho (dho@aclu.org) <dho@aclu.org>; Steiner,
Neil <neil.steiner@dechert.com>; Steel, Simon A. <simon.steel@dentons.com>; Woods, Curtis E.
<curtis.woods@dentons.com>; Sharon Brett <sbrett@aclukansas.org>; Sophia Lakin
<slakin@aclu.org>; Mark Emert <memert@faganemert.com>
       Case 2:16-cv-02105-JAR Document 584-3 Filed 02/12/21 Page 3 of 5



Subject: RE: Fish v. Schwab; Bednasek v. Schwab

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Stan: let’s book 2/8 at noon.

I’ll send out a Zoom invite, if that’s okay with you. Anyone else with the State I should include?

Mark


                  Mark P. Johnson

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From: Parker, Stanley <Stanley.Parker@ag.ks.gov>
Sent: Wednesday, January 20, 2021 11:57 AM
To: Johnson, Mark P. <mark.johnson@dentons.com>
Cc: Depew, Dennis <Dennis.Depew@ag.ks.gov>; Willoughby, M J. <MJ.Willoughby@ag.ks.gov>;
Deckard, Connie <Connie.Deckard@ag.ks.gov>; Dale Ho (dho@aclu.org) <dho@aclu.org>; Steiner,
Neil <neil.steiner@dechert.com>; Steel, Simon A. <simon.steel@dentons.com>; Woods, Curtis E.
<curtis.woods@dentons.com>; Sharon Brett <sbrett@aclukansas.org>; Sophia Lakin
<slakin@aclu.org>; Mark Emert <memert@faganemert.com>
Subject: RE: Fish v. Schwab; Bednasek v. Schwab
         Case 2:16-cv-02105-JAR Document 584-3 Filed 02/12/21 Page 4 of 5



[External Sender]

Mark,

Either time on Monday 2/8 will work for me.

Thanks,
Stan

Stanley R. Parker
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Civil Litigation Division
Complex Tort Defense Unit
Office of Kansas Attorney General Derek Schmidt
120 SW 10th Avenue, 2nd Floor
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From: Johnson, Mark P. <mark.johnson@dentons.com>
Sent: Monday, January 18, 2021 8:17 PM
To: Parker, Stanley <Stanley.Parker@ag.ks.gov>
Cc: Depew, Dennis <Dennis.Depew@ag.ks.gov>; Willoughby, M J. <MJ.Willoughby@ag.ks.gov>;
Deckard, Connie <Connie.Deckard@ag.ks.gov>; Dale Ho (dho@aclu.org) <dho@aclu.org>; Steiner,
Neil <neil.steiner@dechert.com>; Steel, Simon A. <simon.steel@dentons.com>; Woods, Curtis E.
<curtis.woods@dentons.com>; Sharon Brett <sbrett@aclukansas.org>; Sophia Lakin
<slakin@aclu.org>; Mark Emert <memert@faganemert.com>
Subject: RE: Fish v. Schwab; Bednasek v. Schwab

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        Case 2:16-cv-02105-JAR Document 584-3 Filed 02/12/21 Page 5 of 5



Dear Stan,

Thanks for your message. On behalf of the plaintiffs in the two cases, we understand your position to
be that you cannot schedule a time to confer with us until you have received detailed information as
to our requests for fees and costs. Given that local Rule 54.2 permits us to confer after our requests
for fees and costs are filed, perhaps the most efficient way for us to move forward is for us to simply
file our motions, which will contain all of the relevant details that you seek.

Our understanding is that our deadline for filing the motions is January 28 (under the Court’s Orders
dated July 2, 2018 (Doc. 546 in Fish and Doc. 222 in Bednasek) setting the deadline for our requests
at 45 days from disposition of the cases). We will endeavor to file our motions before the deadline
to get the ball rolling. Here are dates and times we propose to confer after you’ve had time to
digest the materials:

        Th 2/4 – 11 am to 12 pm CT; after 3 pm CT
        Fri 2/5 – 9:00 am to 10:30 am; 12:00 pm to 3:30 pm
        Mon 2/8 – 12 pm to 1 pm; after 3:30 pm


Best,

Mark




                   Mark P. Johnson

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